UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI
SOUTHEASTERN DIVISION

QUINTA SANDERS
Plaintiff,

v.

MISSISSIPPI COUNTY, MISSOURI, Case No. 1:18-CV-00269
CITY OF CHARLESTON, MISSOURI,
CORY HUTCHESON, SALLY YANEZ,
RYAN HILL, JOE ROSS,

JOSH MALDONADO,

DECOTA MCGLOTHLIN,

FAITH ALTAMIRANO,

ROBERT HEARNES,

CURTIS ARNOLD,

ZACHARY MATNEY, and

AUSTIN HENSON

Nome Nee Smear” Noe a a” et oe ee ae ee ee ee Ne Ne ee”

Defendants.

MEMORANDUM OF FILING QUALIFIED ASSIGNMENT AND RELEASE
AGREEMENT AND SETTLEMENT AGREEMENT AND GENERAL AND FULL

RELEASE OF ALL CLAIMS FOR THE INJURIES TO AND DEATH OF TORY D.
SANDER, DECEASED AGAINST ROBERT HEARNES, CURTIS ARNOLD, ZACHARY
MATNEY, AUSTIN HENSON, AND THE CITY OF CHARLESTON, MISSOURI ONLY

PURSUANT TO THE ORDER OF THE COURT DATED MAY 18, 2021

Plaintiff Quinta Sanders (“Plaintiff”) and Defendants City of Charleston, Missouri,
Robert Hearnes, Curtis Arnold, Zachary Matney, and Austin Henson (collectively referred to
hereinafter as “the City of Charleston Defendants”), by and through counsel, hereby file this
Memorandum of Filing Qualified Assignment and Release Agreement (“Qualified Assignment”)
and Settlement Agreement and General and Full Release of All Claims for the Injuries to and
Death of Tory D. Sanders, Deceased against Robert Hearnes, Curtis Amold, Zachary Matney,
Austin Henson, and the City of Charleston, Missouri only (“Settlement Agreement”) pursuant to
the Court’s Order dated May 18, 2021 and state as follows:

03821187. DOCK/L/2565-925 ]
1. On May 18, 2021, the Court entered an Order approving the purchase of annuities
from the minors’ distribution of the Settlement Proceeds from the settlement approved by
the Court for the injuries to and the death of Tory D. Sanders, Deceased with the City of
Charleston, Missouri, Robert Hearnes, Curtis Arnold, Zachary Matney, and Austin Henson
only. The Order required the Plaintiff and the City of Charleston Defendants to file the
executed Qualified Assignment including a “Description of Periodic Payment” for all
minors upon the purchase of the annuities. Further, the Order required the Plaintiff and the
City of Charleston Defendants to file the Settlement Agreement upon execution and the
purchase of the annuities.

2. The annuity for each minor has been purchased from the Settlement Proceeds
distributed to each minor for the purchase of the annuities from each minors’ distribution
of the Settlement Proceeds by the Court and the claimants have filed Receipts for the
payment of the Settlement Proceeds pursuant to the Court’s Order dated April 16, 2021
approving the settlement of the injuries to and death of Tory D. Sanders, Deceased between
the heirs and beneficiaries of Tory D. Sanders, Deceased, and Defendants City of
Charleston, Missouri, Robert Hearnes, Curtis Arnold, Zachary Matney, and Austin Henson
only and the collection and distribution of the Settlement Proceeds to the heirs and
beneficiaries of Tory D. Sanders, Deceased.

3. That pursuant to the Court’s Order dated May 18, 2021, the executed Qualified
Assignment and the executed Settlement Agreement and are attached hereto as Exhibit A
and Exhibit B.

4. As originally drafted, the Qualified Assignment and the Settlement Agreement

contained the full name of each minor as required by the annuity company. Plaintiff and

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the City of Charleston Defendants have removed the full names of each minor from the

Qualified Assignment and the Settlement Agreement and have inserted the initials of each

minor so the Qualified Assignment and the Settlement Agreement could be filed of record

with the Court. The original Qualified Assignment and Settlement Agreement containing

the full names of the minors have been maintained in the file of the Plaintiff's attorney and

the City of Charleston Defendants’ attorney’s file and have been provided to the annuity

company.

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Respectfully submitted,
WENDT LAW FIRM, P.C.

By:/s/ Samuel M. Wendt
Samuel M. Wendt MO#53573
Nick Hillyard MO#57538
4717 Grand Ave., Ste. 130
Kansas City, MO 64112
Phone: (816) 531-4415

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E-mail: nick(@wendtlaw.com

and
LAW OFFICE OF MICHAEL G. HOSKINS, P.C.

By:/s/ Michael G. Hoskins

Michael G. Hoskins, pro hac vice
3200 West End Avenue, Suite 500
Nashville, TN 37203

Phone: (615) 783 - 1757

Fax: (615) 866 - 5816

Email: mgh@michaelghoskins.com
ATTORNEYS FOR PLAINTIFF
QUINTA SANDERS

and
PAULE, CAMAZINE & BLUMENTHAL, P.C.

By:/s/ D, Keith Henson

D. Keith Henson, #31988MO

165 North Meramec Ave., Suite 110
Clayton (St. Louis), MO 63105
Telephone: (314) 727-2266
Facsimile: (314) 727-2101

E-mail: knenson@pcblawfirm.com
ATTORNEY FOR CITY OF
CHARLESTON DEFENDANTS

CERTIFICATE OF SERVICE

The undersigned hereby certifies that the attorney whose name appears above signed the
original of this pleading and that true and correct copy of the foregoing was filed with the Clerk
of the Court to be served by the operation of the Court’s electronic filing system and sent via
First Class U.S. Mail this [4 Taday of January 2022 to:

Albert M. Spradling, IU

SPRADLING AND SPRADLING

P.O. Box 1119

1838 Broadway

Cape Girardeau, MO 63702-1119

albert@spradlaw3.com

ATTORNEY FOR DEFENDANTS MISSISSIPPI COUNTY, MISSOURI SALLY YANEZ,
RYAN HILL, JOE ROSS, JOSH MALDONADO AND FAITH ALTAMIRANO

Peter J. Dunne #31482MO

Robert T. Plunkert #62064MO
PITZER SNODGRASS, P.C.

100 South Fourth Street, Suite 400
St. Louis, Missouri 63102-1821
(314) 421-5545

(314) 421-3144 (Fax)
dunne@pspclaw.com

plunkert@pspclaw.com
ATTORNEYS FOR DEFENDANT CORY HUTCHESON

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Lisa S. Hoppenjans

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Email: lhoppenjans(@wustl.edu
ATTORNEY FOR INTERVENOR POST DISPATCH, LLC

D. Keith Henson, #31988MO

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Clayton (St. Louis), MO 63105
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Facsimile: (314) 727-2101

khenson@pcblawfirm.com
ATTORNEY FOR CITY OF CHARLESTON DEFENDANTS

/s/ D. Keith Henson

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Qualified Assignment and Release Agreement
In Accordance With Internal Revenue Code Section 130

*Claimant(s)": Oc... TES, OAM Cry L ‘Cy .
“TD.O.S., TM, D.S., TOS, , SS.) Ze Se

“Assignor"; Savers Property & Casualty Insurance Company

"Sottlament Agreement":

“Assignee”: _MallLife Assignment Company, Inc.
“Annuity issuer”: _Metropolitan Tower Life Insurance Company

“Effective Date”:

This Qualified Assignment and Release Agreement is made and entered into as of the Effective Date
by and among the undersigned parties with reference to the following facts:

A Claimant(s) and Assignor are parties to or are otherwise subject to or entitled to receive payments
under tha above-referanced Sattlemeant Agreement, under which Assignor has liability to make certain
periodic payments to or for the benefit of Clalmant(s) as specified or referred to in paragraph 12 of
this Agreement (the “Periodic Payments"); end

B Assignor and Assignee wish to effect a “qualified assignment’ within the meaning and subject to the
conditions of Section 130(c) of the internal Revenue Code of 1986, as amended (the “Cade"}.

Now, therefore, In consideration of the foragaing and for other good and valuable consideration, the
parties agree as follows:

1. Assignment and Assumption: Release of Assignor. Assignor hereby assigns to Assignee, and
Assignee hereby accepts and assumes, all of Assignor’s lability to make the Periodic Paymenis
described in Paragraph 12. Each Claimant hereby accepts and consents to such assignment by
Assignor and assumption by Assignee. Effective on the Effective Date, each Claimant hereby
releases and discharges Assignor from all liability to make the Periodic Payments.

2. Nature of Periodic Payments, The Periodic Payments constitute
i. damages {other than punitive damages), whether by sult or agreement, or
i. compensation under a workers’ compensation act,

on account of personal injury or sickness in a case involving physical injury or physical sickness,
within the meaning of Sections 130(c} and 104(a) of the Code.

3. Extent of Assignee's Liability. Assignee’s liability to make the Perlodig Payments shall be no
greater than the lability of Assignor Immediately prior to the Effactive Date. Assignee assumas no
Habllity other than the lability to make the Periodic Payments described In Paragraph 12.

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EXHIBIT

At

 
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6,

Assignee's lfability to make the Periodic Payments shall be unaffected by any bankruptcy or
Insolvency of Assignor.

Qualified Funding Asset. Assignee will fund the Periodic Payments by purchasing from Annulty
Issuer 8 “qualified funding aeset," as defined in Section 130(d) of the Code, in the form of an annuity
contract (the “Annulty”) Issued by Annuity Issuer and providing for payments corresponding to the
Periodic Payments. Assignee shail be designated es the owner of the Annulty, All rights of legal
ownership and contro! of the Annuity shall (subject to paragraph 9 of this Agraement) be and remain
vested exclusively In Assignee; provided, however, that the Annulty shall be used by Assignee to fund
the Perlodic Payments and shail at all times be designated by Assignee on Its records as being taken
Into account, under Section 130 of the Cods, with respect to this Agreement. Notwithstanding
anything to the contrary contained in this Agreement, neither any Claimant nor any Successor Payee
shail have any rights with respect to the Annuity or the payments thereunder that would cause any
amount attributable to the Annulty to be currently Includibie in the recipient's income or would
otherwise affect the determination of when any recipient is treated as having recelved any payment
for Income tax purposes, or would otherwise prevent this Agreemont from satisfying all of the
conditions for a “qualified assignment’ within the meaning of Section 130(c) of the Code.

Delivery of Payments. Assignee may have Annulty Issuer send payments directly to a Claimant, or,
if appiloable, to a Successor Payee (as defi arag j s Agraement), or deliver
payments by electronic funds transfer to a depository institution in the United States for cradit {directly
or Indirectly) to an insured account in the name of such Claimant or Successor Payee. Such direction
of payments under the Annuity shall not be deemed to afford the Claimant or any Successor Payee
any rights of ownership or control of the Annulty, Each Claimant and any Successor Payee shall at all
times keap Annuity Issuer apprised of such Clalmant's or Successor Payee's current street address
and telephone number and, if such Claimant or Successor Payee receives payments by electronic
funds transfer, the name, address, bank identifier numbar (BIN) and telephone number of the

applicable depository institution and the account number of the account to which the payments ara to
be credited,

Discharge of Liability, The Assignee's llabllity to make each Periodic Payment to the Claimant or
Successor Payee designated to receive such payment shall be discharged automatically at such time
a8 @ Corresponding payment Is made to such Clalmant or Successor Payee by the Annulty Issuer,

Acceleration, Transfer of Payment Rights. None of the Periodic Payments and no rights to or
interest in any of the Periodic Payments (all of the foregoing being hereinafter colfactively referred to
as “Payment Rights") can be

|. Accelerated, deferred, Increased or decraased by any recipient of any of the Periodic Paymente:

or

li. Sold, assigned, pledged, hypothecated or otherwise transferred or encumbered, either directly or
indirectly, unless such sale, assignment, pledge, hypothecation or other transfer or encumbrance
(any such transaction being hereinafter referred to as a “Transfer") has been approved in
advance In a “Qualified Order" as defined In Section 5801 (6)(2) of the Code (4 “Qualified Order’)
and otherwise compiles with applicable stats law, Including without limitation any applicable state
structured settlement protection statute.

No Claimant or Successor Payee shall have the power to offect any Transfer of Payment Rights
except as provided in sub-paragraph (ii) above, and any other purported Transfer of Payment Rights
shall ba wholly vold, If Payment Rights under this Agreement become the subject of a Transfer
approved In accordance with sub-paragraph ({i) above the rights of any direct or indirect transferee of
such Transfer shall be subject to the tarms of thie Agreement and any defense or claim in
recoupment arising heraunder,

Baneficiaries, Any Periodic Payments to be made after the death of any Claimant or Successor
Payee shall be made to such party'as shall have bean designated In, or In accordance with, the
Settlement Agreement or, if the Settlement Agreement does not provide for such designation, then to
the party designated in conformity with this paragraph 8, Any party 80 designated is referred to in this
Agreement as 4° Beneficiary." Ifno Beneficiary Is living at the Ume of the death of a Claimant or

   
   

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Successor Payee, payment shall be made to the decedent's estate. As used In this agreement the
term “Successor Payee” refers to a Saneficlary or an estate that has become entitled to receive
Perlodic Payments following the death of a Clalmant er a Successor Payee, Except as otherwise
provided In the Settlement Agreement, no designation or change of designation of a Beneficlary shall
be effective uniess such change (|) Is requested in # written request submitted to Assignee (or its
authorized agent) in accordance with Assignee's customary procedures for processing such requests:
and (|i) Is confirmed by Assignee (or its authorized agent). Except for a designation that Is expressly
identified in the Settlement Agreement as Irravocabie, any designation of a Beneficiary shall be
deemed to be revocable: and no party that Is designated as g Beneficlary (other then a

ltevocably designated as a Beneficiary in the Settlement Agreement) shali, solely by virtue of its
designation as a Beneficiary, be deemed to have any cognizable interest in any Periodic Payments,

9, Fallure to Satisty Section 130(c). If at any time prior to completion of the Periodic Payments, the
Settlement Agreement is declared terminated In a final, hon-appealable order of a court of competent
jurisdiction (or In the case of a workers’ compensation Settiement, a final order of the applicable
workers’ compensation authority) or If It is determined in any such final order that the requirements of
Section 130(c} of the Code have not been satisfied in connection with this Agreement: (1) the
assignment by Asstgnor to Assignee of the llability to make the Periodic Payments, Assignee's
acceptance of such assignment and the release by Claimant(s) of Assignor’s lability shall:-be of no
force or effect; (il) Assignee shall be conclusively deemed {o be acting as the agent of Assigner, (It)
the Annulty shall be owned by Assignor, which shall retain the liability to make the Periedic
Payments; (Iv) Assignee shall have no liability to make any Periodic Payments; and (v) the parties
fae saree to cooperate in taking such actions as may be necessary or appropriate to Implement
the foragoing.

10. Governing Law: Disclosure of Certain Tax information; Binding Effect.

(I) This Agreement shail be governed by and interpreted in accordance with the internal laws of the
State of DE provided, however, that any Transfer of Payment Rights under this Agreement may
be subject to the laws of other states In addition to the state designated above.

(li) This Agreement shail be binding upon the parties hereto and their respective successors, heirs,
executors, administrators and permitted assigne, lncluding without limitation any party asserting
an Interest in Payment Rights.

11. Advice, Comprehension of Agreement, In entering into this Agreement, each Claimant represents
and warrants that (i) such Clalmant has relled solsly upon the legal and tax advice of such Clalmant's
own attomeys and other advisors, who are the attomeys and advisora of auch Claimant's cheice,
conceming the legal and Income tax consequences of this Agreement; and (ii) the terms of this
Agreement have been completely read by and explained to such Claimant and ara fully understood
and voluntarily aocepted by such Claimant.

12. Description of Periodic Payments. The Periodic Payments are as eet forth Immediately below or
(if not set forth below) as set forth in attached Addendum No. 1, which is hereby incerporated in and
made a part of this Agreement.

 

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Addendum No. 1
Description of Periodic Payments

Periodic Payments, Payable t 0.4, (Sp mM.
$34,711.27 Guaranteed Jump sum, payable on 03/04/2034.

erlodic Payments le . 1. E. Paves"):
$33,413.98 Guaranteed lump sum, payauie on 11/20/2032,

Periodic Payments. Payable to LA. Mc.
$30,108.89 Guaranteed lump sum, payable on 03/74/2029.

odic en oO lL. Cc. gg 277}:
$36,766.73 Guaranteed lump sum, payable on 01/12/2036,

Perlodic Payments, Payable te 1 - D. €).S,
(“Payee”):

$30,840.58 Guaranteed jump sum, payable on 01/27/2030.

Periodic Payments, Payable to 1, 1. O,S-
(“Payee"):

$31,788.79 Guaranteed lump sum, payable on 02/43/2031,

Periodic Payments, Payable to" { s D.S. ¢ {Payae"):

$29,826.24 Guaranteed lump sum, Payavis on 1106/2028,

Pe ts. Payableto 5. S.  (*pavee"):
$33,985.57 Guaranteed lump sum, payabia on 06/19/2033.

    

 

 

 

   

Periodic Paymen ayable to L- S.. “Pavee"):
$35,280.63 Guaranteed lump sum, payable on 09/17/2034.

Initials | .

Assignor: ——
Assignee: tn
Glalmant(s): QS. Clalmant(s}:

Claimant{s): Clalmantts);

Gialmant- Claimant
Attorney:

Attorney

 

 

 

 

 

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This Qualifled Assignment and Release Agreement Is signed in one or mora counterparts as of the
Effective Date by the followin. Ing:

By:

 

 

Authorized Representative
Title: Complex Claims manager

Title:

 

Slaimantts): p. C. A AW TDS

Approved as $ ta Form and ~
Signature Oy UA, OS Ka

Clainfant's A mey
Summer Lea Barr Barrett ae next fiand fKO.7. S

and O. »&, miner chileran,
Claimant(s): I . yn . D. 5 : Approved as to Form and ME.
Signature Claimant's Affornay
Quinta Sanders as next frland of” . 4, WS

ott , Minor children,

ae ZJ.A.™M Cy “7. BD. Q. $.

Approved as to Form and fontent:
Te. &., and Lie OW BLL Eon
Clalmant's’Attornay
Signature:
Jocelyn Cox, Bs next friefd oa, A.M

Tr ‘Ss. Tee, avd 4
p: ~ Azaron.
children,

Approved as to Form and Content:

  

enol 3S, awd ° Claimant's Attorney
- Minor children. 24 We 2.5,
Certificate Of Completion

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Signer Events

Kelth Hutching

Kalth. Hutchins@ameritrustgroup.cam
Complex Claims Manager

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SETTLEMENT AGREEMENT AND GENERAL AND FULL RELEASE OF ALL CLAIMS
FOR THE INJURIES TO AND DEATH OF TORY D. SANDERS, DECEASED AGAINST
ROBERT HEARNES, CURTIS ARNOLD, ZACHARY MATNEY, AUSTIN HENSON, AND

CITY OF CHARLESTON, MISSOURI ONLY

This Settlement Agreement and General and Full Release of All Claims For the
Injuries to and Death of Tory D. Sanders, deceased Against Robert Hearnes, Curtis
Arnold, Zachary Matney, Austin Henson, and City of Charleston, Missouri Only (the
"Settlement Agreement") is entered into on this 274 day of May 2021 by and

between:

Claimants:

Defendants:

Insurer:

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Quinta Sanders, as Next Friend of T.M.D.S., a minor child:
Summer Lea Barrett, as Next Friend of T.D.S. and D.C.B., minor children;

Jocelyn Cox, as Next Friend of J.A.M.C., T.D.Q.S., J.T.E.C. and L.C., minor
children; and

Dreama Smith, as Next Friend of J.S. and Z.5., minor children:
(Each a “Claimant” and collectively the “Claimants”)

Robert Hearnes, individually and in his official capacity as Director of Public
Safety and Chief of Police for the City of Charleston, Missouri, Curtis Arnold,
individually and in his official capacity as a police officer for the City of
Charleston, Missouri, Zachary Matney, individually and in his official capacity
as a police officer for the City of Charleston, Missouri, Austin Henson,
individually and in his official capacity as a police officer for the City of
Charleston, Missouri, City of Charleston, Missouri and all past, present and
future servants, employees, elected officials, appointed officials, City
Councilpersons, Mayors, City Administrators, City Clerks, attorneys, Chiefs
of Police, police officers, and representatives of the City of Charleston,
Missouri (collectively referred to herein as the “City of Charleston
Defendants”):

Savers Property & Casualty insurance Company (referred to herein as the
“Insurer’).

 

EXHIBIT

  
   
RECITALS

A. Each Claimant, by and through their respective Next Friend, has asserted claims for
damages against the City of Charleston Defendants arising out of the injuries to and death
of Tory D. Sanders on May 5, 2017 as a direct or indirect result of the alleged acts or
omissions of the Defendants arising out of the detention of Tory D. Sanders by officers for
the City of Charleston, Missouri on May 5, 2017, the incarceration of Tory D. Sanders in
the Mississippi County Detention Center on May 5, 2017 in Mississippi County, Missouri
and the injuries to and death of Tory D. Sanders, deceased in the Mississippi County
Detention Center on May 5, 2017 (coilectively the “Occurrence”) which include claims for
violations of Missouri state law, including negligence, false imprisonment, assault and
battery, and false arrest, for wrongful death under §537.080 and §537.090 RSMo. (2016),
for actual and punitive damages, for damages for aggravating circumstances, for the use
of excessive force, for failure to intervene, for survivorship damages under Missouri law
and §537.010, §537.020 and §537.021 RSMo. (2016) for injuries to and death of Tory D.
Sanders, deceased, for bodily and personal injury to Tory D. Sanders, deceased, for
violation of the Constitutional rights of Tory D. Sanders under the United States Constitution
pursuant to 42 U.S.C. §1983, §1985, §1988, and the Fifth, Eighth, Fourth and Fourteenth
Amendments, and for violation of other state and federal laws, including the U.S. and
Missouri Constitutions, as a result of the Occurrence on May 5, 2017 as is more specifically
alleged in the Complaint filed in the lawsuit styled Quinta Sanders. Plaintiff v. Mississippi
County, Missouri, City of Charleston, Missouri, Cory Hutcheson, Sally Yanez, Ryan Hill,
Joe Ross, Josh Maldonado, Decota McGiothlin, Faith Altamirano, Robert Hearnes, Curtis
Arnold, Zachary Matney and Austin Henson, Defendants pending in the United States
District Court for the Eastern District of Missouri, Southeastern Division, Case No. 1:18-
CV-00269-ACL (the “Action”). The City of Charleston Defendants have generally and
specifically denied all claims of the Ciaimants for the injuries to and death of Tory D.
Sanders, deceased, on May 5, 2017 in Mississippi County, Missouri alleged in the Action
and otherwise.

B. Each Claimant has asserted claims against the City of Charleston Defendants to
recover damages for personal and physical injury or physical sickness allegedly sustained
as a consequence of the alleged acts or omissions of the City of Charleston Defendants in
connection with the Occurrence and the injuries to and death of Tory D. Sanders,
deceased, on May 5, 2017.

C. Savers Property and Casualty Insurance Company is the liability insurer of the City
of Charleston Defendants and as such, would, subject to all terms and conditions of the
Insurer's policy, be obligated to pay any judgment obtained against the City of Charleston
Defendants in the Action which is covered by the policy of insurance.

D. The Claimants, City of Charleston Defendants, and Insurer desire to enter into this
Settlement Agreement upon the terms in this Settlement Agreement as hereinafter set forth
with no admission of liability, fault, wrongdoing, or otherwise by the City of Charleston
Defendants in order to provide for certain payments in full settlement and discharge of all
claims of the Claimants against the City of Charleston Defendants only arising from or

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relating to the Occurrence and the injuries to and death of Tory D. Sanders, deceased, on
May 5, 2017 upon the terms and conditions set forth herein.

E. This Settlement Agreement and Release contained herein does not release or
discharge any claims of the Claimants arising out of the Occurrence and the injuries to and
death of Tory D. Sanders, against Mississippi County, Missouri, Corey Hutcheson, Sally
Yanez, Ryan Hill, Joe Ross, Josh Maldonado, Decota McGlothlin, and Faith Altamirano
("Mississippi County Defendants”) as are asserted or could be asserted in the Action with
ail claims of the Claimants in the Action against the Mississippi County Defendants being
reserved, preserved, and remain pending in the Action. With respect to Insurer's Insurance
policy, with policy number CP0751769, issued to the City of Charleston as the named
insured, which is funding this settlement, this settlement between the City of Charleston
Defendants and Claimants has no impact on insurance coverage, or lack of insurance
coverage, potentially available to the Mississippi County Defendants for the alleged acts or
omissions complained of in the Action apart from reducing the applicable limits of that policy
by the amount of the Settlement Consideration (“$500,000.00”) paid in the settlement to
the Claimants and to the other Class 1 Beneficiaries of Tory D. Sanders pursuant to the
Order of the Court approving the settlement for the injuries to and death of Tory D. Sanders,
deceased and the distribution of the Settlement Consideration to the heirs and beneficiaries
of Tory D. Sanders, deceased entered on the 16" day of April, 2021 in the Action, and
incorporated herein by reference.

F, This Settlement Agreement is entered into by and among the Parties pursuant to the
Order of the Court approving the settlement for the injuries to and death of Tory D. Sanders,
deceased and the distribution of the Settlement Proceeds to the heirs and beneficiaries of
Tory D. Sanders, deceased entered on the 16" day of April, 2021 in the Action and the
Order of the Court approving the purchase of annuities from the Minors’ distribution of the
Settlement Proceeds from the settlement approved by the Court for the injuries to and death
of Tory D. Sanders, deceased entered on the 18" day of May, 2021 in the Action, and
incorporated herein by reference.

AGREEMENT
The parties agree as follows:
41. General and Full Release and Discharae of All Claims:

 

In consideration of the payments set forth in Section 2, each Claimant by and
through their respective Next Friend, hereby completely releases, acquits and
forever discharges the City of Charleston Defendants, as defined above, from any
and all past, present or future claims, demands, obligations, actions, causes of
action, wrongful death claims, survival rights, damages, costs, expenses, economic
and non-economic damages, claims for conscious pain and suffering of Tory D.
Sanders, deceased, claims for personal injury to Tory D. Sanders, deceased, claims

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for damages for the injuries to and death of Tory D. Sanders, deceased, as allowed
by §537.080 (2016) et seq. and specifically §537.090 RSMo. (2016), claims for
survivorship damages under Missouri law and §537.010, §537.020, §537.021
§537.080, and §537.090 RSMo. (2016), claims for pecuniary losses caused by
reason of the death of Tory D. Sanders, deceased, claims for the reasonable value
of the services, consortium, companionship, comfort, instruction, guidance,
counseling, training, support, and society lost by reason of the injuries to and death
of Tory D. Sanders, deceased, all claims under Missouri and federal law for
damages arising out of the injuries to and death of Tory D. Sanders, deceased, all
claims for damages under the Missouri and U.S. Constitutions arising out of the
detention of Tory D. Sanders, deceased in the Mississippi County Detention Center,
claims for false arrest and false imprisonment, all claims asserted in the Action,
claims for negligence, claims for actual and punitive damages, claims for damages
for aggravating circumstances, claims for attorney fees, claims for constitutional
violations including claims under 42 U.S.C. §1983, §1985, §1988, and the Fourth,
Fifth, Eighth, and Fourteenth Amendments of the U.S. Constitution, claims for the
use of excessive force, claims for conspiracy to violate constitutional rights and other
rights, claims for failure to intervene, claims for assault and battery, compensation
of any nature whatsoever, whether based in tort, contract or other theory of recovery,
and all other claims for violations of any state, federal, and common law which each
Claimant now has, or which may hereafter accrue or otherwise be acquired, on
account of, or may in any way arising out of the detention of Tory D. Sanders on
May 5, 2017, the detention of Tory D. Sanders in the Mississippi County Detention
Center on May 5, 2017, the death of Tory D. Sanders on May 5, 2017, the incidents
described in the Action and in Recital A. above and the injuries to and death of Tory
D. Sanders, deceased, on May 5, 2017, including, without limitation, any and all
known and unknown claims for bodily and personal injuries to Tory D. Sanders,
deceased, the injuries to and death of Tory D. Sanders, deceased, or any resulting
injuries and damages to Claimants arising out of the injury to and death of Tory D.
Sanders, deceased, on May 5, 2017, or any future injury and death claim of each
Claimant's representatives or heirs, which have resulted or may result from the
alleged acts or omissions of the City of Charleston Defendants as are alleged in the
Action, or that could have been alleged in the Action, that allegedly caused injuries
to and death of Tory D. Sanders, deceased.

This General and Full Release and Discharge of all Claims shall also apply to the
City of Charleston Defendants’ past, present and future attorneys, servants,
representatives, employees, predecessors and successors in interest, elected
officials, appointed officials, city councilpersons, mayors, city administrators, city
clerks, chiefs of police, police officers, representatives of the City of Charleston,
Missouri, heirs, personal representatives, and estates.

This General and Full Release and Discharge of All Claims, on the part of the
Claimants, and each of them, shall be a fully binding and a complete settlement
among the Claimants, the City of Charleston Defendants, and their heirs, personal
representatives, estates, assigns and successors.

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The Claimants, and each of their Next Friends, acknowledge and agree that this
release and discharge set forth above is a General and Full Release and Discharge
of All Claims of each Claimant against the City of Charleston Defendants for the
injuries to and death of Tory D. Sanders, deceased, on May 5, 2017 as is more
specifically alleged in the Action or that could have been alleged in the Action. Each
Claimant expressly waives and assumes the risk of any and all claims for damages
which exist as of this date, but of which each Claimant does not know or suspect to
exist, whether through ignorance, oversight, error, negligence, or otherwise, and
which, if known, would materially affect each Claimant's decision to enter into this
Settlement Agreement. Each Claimant further agrees that each of them has
accepted payment of the sums specified herein as a complete compromise of
matters involving disputed issues of law and fact. Each Claimant assumes the risk
that the facts or law may be other than Claimants believe. It is understood and
agreed to by the Parties that this settlement is a compromise of disputed claims, and
the payments are not to be construed as an admission of liability on the part of the
City of Charleston Defendants, with each City of Charleston Defendant expressly
denying liability for any claim asserted in the Action and any claim arising out of the
injuries to and death of Tory D. Sanders, deceased, as a result of the detention of
Tory D. Sanders on May 5, 2017, the detention of Tory D. Sanders in the Mississippi
County Detention Center on May 5, 2017, and the injuries to and death of Tory D.
Sanders on May 5, 2017 in Mississippi County, Missouri at the Mississippi County
Detention Center,

It is expressly warranted by each Claimant that no other person or entity has
asserted or is able to assert any lien, claim or entitlement to any portion of the
payments and consideration paid herein. Each Claimant further expressly agrees
to indemnify and hold harmless each City of Charleston Defendant, Insurer, and their
past, present, and future officers, directors, stockholders, attorneys, attorney-in-fact,
servants, representatives, employees, subsidiaries, affiliates, parent entities,
independent contractors, partners, predecessors and successors in interest,
assigns, heirs, beneficiaries, elected officials, appointed officials, city
councilpersons, mayors, city administrators, city clerks, chiefs of police, police
officers, and representatives of the City of Charleston, Missouri from any lien, claim
or entitlement to any portion of the payments and consideration paid herein for this
Release which may be asserted against any of them by any person, firm, or
corporation purporting to act on behalf of Claimants or as a creditor of Claimants, if
such claim arises from the Occurrence and any claim alleged in the Action.

The Claimants acknowledge and warrant that the settlement described herein and
the payment of the consideration in Section 2 releases and discharges all claims of
each minor child Claimant for injuries to and death of Tory D. Sanders, deceased
against the City of Charleston Defendants as are alleged in the Action or that could
have been alleged in the Action, and that the settlement described herein forecloses
ail rights of each minor child Claimant to assert any claims against the City of
Charleston Defendants on their own behalf for the injuries to and the death of Tory
D. Sanders, deceased, upon each minor Claimant reaching the age of majority.

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Each Claimant acknowledges that this settlement with the City of Charleston
Defendants is a good faith settlement and that this Settlement Agreement is given
in good faith to the City of Charleston Defendants who could be liable for the injuries
and damages for the injuries to and death of Tory D. Sanders, deceased claimed in
the Action pursuant to §537.060 RSMo. (2016) and that it is the intent of the Parties
that the City of Charleston Defendants be discharged and released from liability for
contribution and non-contractual liability to any other person, firm, entity, and
corporation for any claim asserted in the Action or that could have been asserted in
the Action for the injuries to and death of Tory D. Sanders, deceased pursuant to
§537.060 RSMo. (2016).

Each Claimant acknowledges and agrees that this settlement with the City of
Charleston Defendants is being funded by the Insurer and that the release and
discharge set forth above is a General and Full Release and Discharge of All Claims
of each Claimant against the Insurer, and its past, present, and future officers,
directors, stockholders, attorneys, attorneys-in-fact, employees, servants,
representatives, parent entities, subsidiaries, affiliates, partners, assigns, and
predecessors and successors in interest for all claims asserted by Plaintiff Quinta
Sanders for and on behalf of each Claimant or that could have been asserted by
Quinta Sanders for and on behalf of each Claimant in the Action against the City of
Charleston Defendants for the injuries to and death of Tory D. Sanders, deceased,
on May 5, 2017 and ail other claims against the City of Charleston Defendants
arising out of the injuries to and death of Tory D. Sanders, deceased.

2. Payments:

In consideration of the release set forth above, the Insurer on behalf of the City of
Charleston Defendants agrees to pay the sums outlined below:

CASH:

Within 10 days after the signing of this Settlement Agreement, the Claimants and
their attorneys will be paid the following sums:

1} Quinta Sanders, as Next Friend of T.M.D.S., a minor child, the sum of
$18,809.46 for the payment of attorney fees to Wendt Law Firm, P.C. and
the Law Office of Michael G. Hoskins, P.C. and funeral expenses to Quinta
Sanders;

2) Summer Lea Barrett, as Next Friend of T.D.S. and D.C.B., minor children,
the sum of $37,618.92 for the payment of attorney fees to Wendt Law Firm,
P.C. and the Law Office of Michael G. Hoskins, P.C. and funeral expenses
to Quinta Sanders;

3) Jocelyn Cox, as Next Friend of J.A.M.C., T.D.Q.S., J.T.E.C. and L.C., minor
children, the sum of $75,237.81 for the payment of attorney fees to Wendt
Law Firm, P.C. and the Law Office of Michael G. Hoskins, P.C. and funeral!
expenses to Quinta Sanders; and

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4) Dreama Smith, as Next Friend of J.S. and Z.S., minor children, the sum of
$37,618.90 for the payment of attorney fees to Wendt Law Firm, P.C. and
the Law Office of Michael G. Hoskins, P.C. and funeral expenses to Quinta
Sanders.

SUMMARY FOR FUTURE BENEFITS:

A current cost of $239,805.81, payable to MetLife Assignment Company, Inc.,
to fund the future periodic payments as described, below:

I. Periodic Payment, Payable to D.C.B. (“Payee”):
$34,711.27 Guaranteed lump sum, payable on 03/04/2034.

il. Periodic Payment, Payable to J.T.E.C. (“Payee”):
$33,413.96 Guaranteed jump sum, payable on 11/20/2032.

Hi. Periodic Payment, Payable to J.A.M.C. (“Payee”):
$30,108.89 Guaranteed lump sum, payable on 03/14/2029.

IV. Periodic Payment, Payable to L.C. (“Payee”):
$36,766.73 Guaranteed lump sum, payable on 01/12/2036.

V. Periodic Payment, Payable to T.D.Q.S. (“Payee”):
$30,840.58 Guaranteed lump sum, payable on 01/27/2030.

Vi. Periodic Payment, Payable to T.M.D.S. (“Payee”):
$31,788.79 Guaranteed lump sum, payable on 02/13/2031.

Vil. Periodic Payment, Payable to T.D.S. (“Payee”):
$29,826.24 Guaranteed lump sum, payabie on 11/06/2028.

Vill. Periodic Payment, Payable to J.S. (“Payee”):
$33,985.57 Guaranteed lump sum, payable on 06/19/2033.

IX. Periodic Payment, Payable to Z.S. (“Payee”):
$35,280.63 Guaranteed lump sum, payable on 09/17/2034,

(The total present cost of each payee/minor’s annuity is $26,645.09).

Ali sums set forth herein constitute damages on account of personal physical injuries
or sickness, within the meaning of §104(a) (2) of the Internal Revenue Code of 1986,
as amended.

3. Claimants’ Rights to Payments:

Each Claimant acknowledges that the Periodic Payments cannot be accelerated,
deferred, increased or decreased by any Claimant or any Payee; nor shall any

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Claimant or any Payee have the power to sell, mortgage, encumber, or anticipate
the Periodic Payments, or any part thereof, by assignment or otherwise.

4, Payees’ Beneficiary:

Any payment to be made after the death of any Payee pursuant to the terms of this
Settlement Agreement shall be made to the Estate of Payee, unless otherwise Court
ordered, until the age of majority. Upon reaching the age of majority, a Payee may
designate such person or entity in writing to the Insurer or the Insurers Assignee. If
no such person or entity is so designated by a Payee, or if the person designated is
not living at the time of a Payee’s, such payment shall be made to the Estate of the
Payee. No such designation, nor any revocation thereof, shall be effective unless it
is in writing and delivered to the Insurer or the Insurer’s Assignee. The designation
must be in a form acceptable to the Insurer or the Insurer's Assignee before such
payments are made.

5. Consent to Qualified Assignment:

Each Claimant acknowledges and agrees that the City of Charleston Defendants
and/or the Insurer may make a qualified assignment, within the meaning of §130(c)
of the Internal Revenue code of 1986, as amended, of the City of Charleston
Defendants’ and/or the Insurer’s liability to make the Periodic Payments set forth in
Section 2 Summary For Future Benefits to MetLife Assignment Company, Ine.
(the “Assignee”). The Assignee’s obligation for payment of the Periodic Payments
shall be no greater than that of the City of Charleston Defendants and/or the Insurer
(whether by judgment or agreement) immediately preceding the assignment of the
Periodic Payments obligation.

Any such assignment, if made, shall be accepted by each Claimant without right of
rejection and shall completely release and discharge the City of Charleston
Defendants and the Insurer from the Periodic Payments obligation assigned to the
Assignee. Each Claimant recognizes that, in the event of such an assignment, the
Assignee shall be the sole obligor with respect to the Periodic Payments obligation,
and that all the other releases with respect to the Periodic Payments obligation that
pertain to the liability of the City of Charleston Defendants and the Insurer shall
thereupon become final, irrevocable and absolute.

6. Right to Purchase an Annuity:

The City of Charleston Defendants and/or the Insurer, themselves or through their
Assignee, reserve the right to fund the liability to make the Periodic Payments in
Section 2 Summary For Future Benefits through the purchase of an annuity policy
from Metropolitan Tower Life Insurance Company (the "Annuity Issuer"), The
City of Charleston Defendants, the Insurer or the Assignee shall be the sole owner
of the annuity policy and shall have all rights of ownership. The City of Charleston
Defendants, the Insurer or the Assignee may have the Annuity Issuer mail such

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periodic payments directly to each Payee, who shall be responsible for maintaining
a current mailing address with the Annuity Issuer.

Discharge of Obligations:

The discharge of the obligations of the Assignee to make each Periodic Payment
described herein, if by check, shall occur upon the mailing of a valid check, on or
before the due date, in the amount due to each Payee’s address as shown in the
Assignee’s records, or, if by Electronic Funds Transfer (EFT), upon the electronic
transferring of such payment, on or before the due date, to each Payee’s bank
account as shown in the Assignee’s records, In the event the check is not received,
upon proper notification, Annuity Issuer will initiate stop payment procedures. Upon
confirmation that the check was not cashed and stop payment effected, Annuity
Issuer will reissue a replacement check.

Attorneys’ Fees:

Each party hereto shall bear and be responsible to pay all attorneys’ fees and costs
arising from the actions of its counsel retained by that party in connection with the
claims, the Occurrence, this Settlement Agreement, the Action, and the matters and
documents referred to herein.

Representation of Comprehension of Documents:

In entering into this Settlement Agreement, each Claimant represents that each of
them have relied upon the advice of Claimants’ attorneys, who are the attorneys of
each Claimant’s own choice, concerning legal and income tax consequences of this
Settlement Agreement; that the terms of this Settlement Agreement have been
completely read and explained to each Claimant by their attorneys; and that the
terms of this Settlement Agreement are fully understood and voluntarily accepted by
each Claimant.

Warranty of Capacity to Execute Agreement:

Each Claimant represents and warrants that no other person or entity has, or has
had, any interest in the claims, demands, obligations, or causes of actions referred
to in this Settlement Agreement, except as otherwise set forth herein; and that each
Claimant has the sole right and exclusive authority to execute this Settlement
Agreement and receive the sum specified in it; and that Claimants have not sold,
assigned, transferred, conveyed or otherwise disposed of any claims, demands,
obligations, or causes of action referred to in this Settlement Agreement.

All Counterparts Together Shall Constitute One Agreement:

The Claimants, City of Charleston Defendants, and Insurer acknowledge and agree
that this Settlement Agreement may be executed in one or more counterparts, each

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of which shall be deemed an original, but all of which together shall constitute one
and the same instrument, and that the Settlement Agreement may be executed by
facsimile and/or electronic signature, which shall have the same force and effect as
an original signature of a Claimant, City of Charleston Defendant, and Insurer.

Governing Law:

This Settlement Agreement shall be construed and interpreted in accordance with
the laws of the State of Missouri.

Additional Documents:

All Parties agree to cooperate fully and execute any and all supplementary
documents and to take all additional actions which may be necessary or appropriate
to give full force and effect to the basic terms and intent of this Settlement
Agreement.

Entire Agreement and Successors in Interest:

This Settlement Agreement contains the entire agreement between the Claimants,
the City of Charleston Defendants, and the Insurer with regard to the matters set
forth herein and shall be binding upon and inure to the benefit of the executors,
administrators, personal representatives, heirs, successors and assigns of each.

Effectiveness:
This Settlement Agreement shall become effective following execution by all Parties.
Approval of the Settlement by the Court:

This Settlement Agreement is being executed pursuant to the Order of the United
States District Court for the Eastern District of Missouri, Southeastern Division dated
April 16, 2021 filed in Case No. 1:18-CV-00269-ACL approving the settlement for
the injuries to and death of Tory D. Sanders, deceased, the distribution of the
settlement proceeds to the heirs and beneficiaries of Tory D. Sanders, deceased,
and the settlement of the claims of the Claimants, by and through their Next Friends,
from the settlement approved by the Court and the Order of the Court Approving
the purchase of annuities from the Minors’ distribution of the Settlement Proceeds
from the Settlement Approved by the Court For the Injuries to and Death of Tory D.
Sanders, deceased dated May 18, 2021 filed in Case No. 1:18-C\V-00269-ACL.

IN WITNESS WHEREOF, the Parties h»reto have duly executed this Settlement

Agreement in multiple originals.

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DW TE.e,, AWE LIE, |
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children, by and through Jocelyn Cox, as Next

Friend of <7 A, EL. “TD. @.S.;
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Jogelyn” Cox, as/Wext.Filend “oF

TAM C, TO.@.S) 5, TEC,
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. Minor children

  

 

STATE OF “lennessee )

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On this 26" day of Mey _, 2021, before me personally aopeared Jocelyn
Cox, as the Next Friend of —J. AMC, TOAST TEG, arb.
Ld. «minor Children, to me Known w ve
the individual wno execued this Sereme t Agreement and General and Full Release of
All Claims, for and on behalf of . FAP &., 70. &, S., ee, wre.
L.. Cc, minor children, and acnnowleayed
that she fully understood the cuiieits of this Sewement Agreement and General and Full
Release of All Claims, freely executed the same for the sole consideration therain
expressed, and upon the advice of her attorneys.

IN TESTIMONY WHEREOF, | have hereunto set my hand and affixed my official
Seal on the day and year first above written.

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Claimants 770.5, werd D.C, C2

minor chiaren, by and through
Summer Lea Garrett, as Next Friend o§

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‘Bimmer Lea” Barrett, as Next Friend of -

T.9.5, ard 0,¢.86, minor
children
STATE OF _lennessec )
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COUNTY OF Deawidsem sj

On this 26" day of Mas! __. 2021. before me personally appeared
Summer Lea Barrett, as the NextFriendof —7.D.s, and 0.¢.G.
mniner children, to me known to be the individual who executed this Settlement Agreement
and General and Full Release of Ail Claims, for and on behalf of ~77 D.S Aras

: Col, minor children, and acknowledged that she fully undersiwod the
contents of this Settlemant Agreement and General and Full Release of All Claims, freely
executed the same for the sole consideration therein expressed, and upon the advice of
her attorneys.

IN TESTIMONY WHEREOF, | have hereunto set my hand and affixed my official
seal on the day and year first above written.

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My Commission expires: ] 7/2)

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Claimant
minor, by and throuan Quinta Sanders, as Next
Friend of —™ M.O.S,

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DATE 5 A¢/2./ _ By: a pies
Quinta Sanders. as Next Friend of
TT M.D. S, ~— aminor

STATE OF “lenniessee __ )

} 8s.
COUNTY OF “Dawidsen ss)

On this 2G day of _ Miay _, 2021, before ma personally appeared
Quinta Sanders, as the Next Friend of = —"T. M, 0. Ss. . & minor, to
mé known to be the Individual who executed te oettlamant Agee ana General and
Full Release of All Claims, for and on behalf of TM. O.S a ‘eB

minor, and acknowledged that she fully underswwod tw contents ot this Sewement
Agreement and General and Full Release of All Claims, freely executed the same for the
sole consideration therein expressed, and upon the advice of her attorneys.

IN TESTIMONY WHEREOF, | have hereunto set my hand and affixed my official

Seal on the day and year first above written.
BHL.

Notary Public
My Commission expires: Al n/a

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Claimants TS. Awd LD: minor
childran, by and through Dreama Smith, as Next

Friend of 7S Awd ZS, — », minor

children

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DATE__2?/ | 2b/ AI By: SOC princes: CA _
ma Smith, as Next Frend

and 2. S aed LS minor children

STATE OF _lennessee )
) ss.
COUNTY OF Davielgm ss)
On this 20% gay of May , 2021. before me personally appeared

Breama Smith, as the Next Friend of “37S. aed 22--&-.° . minor children, to
me known to be the individual who exectucu this setharenTAr’-~™ment and Gereral and
Full Release of All Claims, for and on behalf of 37S, Awd ZS, , minor
children, and acknowledged that she fully understood the contems o7 this settlement
Agreement and Genera! and Full Release of All Claims, freely executed the same for the
soie consideration therein expressed, and upon the advice of her attarneys,

IN TESTIMONY WHEREOF, | have hereunto set my hand and affixed my official
seal on the day and year first above written. .

  

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Insurer: Savers Property & Casualty Insurance Company (For City of
Charleston Defendants)

 

 

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Dated: 28 [909 \ By: ROY SS

Keith Hutchins

Title: Complex Claims Manager
STATE OF 72 Kas )

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Onthis_ 2% dayof Mou , 2021, before me personally appeared Keith
Hutchins, Complex Claims Managerfor Savers Property & Casualty Insurance
Company, to me known to be the individual

IN TESTIMONY WHEREOF, | have hereunto set my hand and affixed my official
seal on the day and year first above written.

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My Commission expires: | 2 O77 oO 2 | Miso,
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APPROVED AS TO FORM AND CONTENT:
WENDT LAW

 

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Facsimile: (816) 531-2507

sam@wendilew.com

Attorney for Claimants

LAW OFFICE OF MICHAEL G. HOSKINS, P.C.

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Facsimile: 615 866-5816

moh@michaelghoskins.com

Attorney for Claimants

PAULE, CAMAZINE & BLUMENTHAL, P.C.

A Professional Corpofati
By: C/ Lehn

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Clayton (St. Louis), MO 63105
Telephone: (314) 727-2266
Facsimile: (314) 727-2101

khenson@pcblawiirm.com

Attorney for City of Charleston Defendants

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